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                                                        March 29, 2022

VIA EMAIL

The Honorable George C. Hanks, Jr.
United States District Court Judge, Southern District of Texas
ATTN: Byron Thomas, Case Manager
United States Courthouse
515 Rusk Street, Room 6202
Houston, TX 77002

         Re:        Robert T. Brockman v. United States, 4:22-cv-00202-GCH

Dear Judge Hanks:

Plaintiff Robert T. Brockman submits this letter to request that the Court set a time for argument
on Mr. Brockman’s Motion for Determination on Complaint for Judicial Review and Abatement
of Jeopardy Assessment and Jeopardy Levy Pursuant to 26 U.S.C. § 7429.

Section 7429(b)(3) of the Internal Revenue Code (“IRC”), Title 26, mandates expedited
determination by the Court with regard to an IRS jeopardy assessment to provide swift relief to
the hardships faced by taxpayers as the result of an improper jeopardy assessment and collection
actions by the IRS. See Vicknair v. United States, 617 F.2d 1129, 1131 (5th Cir. 1980); Clark v.
Campbell, 501 F.2d 108, 110, 121 (5th Cir. 1974); see also Dkt. No. 38 at 8-9.

The IRS is actively seizing and placing liens on assets belonging to Mr. Brockman, as well as
assets belonging solely to his wife and other third parties, having emptied Dorothy Brockman’s
bank account only days ago. It is Mr. Brockman’s position that no basis exists for the IRS’s
jeopardy assessment because (1) the government cannot meet its burden to show a reasonable basis
for its contention that he is “designing quickly” to move assets outside the reach of the government,
see 26 CFR § 301.6861-1(a); IRC § 7429(g)(1); and (2) there is no risk of jeopardy.

On this latter point, we note that by letter to the IRS dated March 15, 2022, BCT Limited (“BCT”),
the trustee of the A. Eugene Brockman Charitable Trust, set out a proposal that would fully secure
payment of any tax liability that may be determined to be owed by Mr. Brockman. See Dkt. No.
38-1, Ex. A. On March 25, the IRS declined to consider BCT’s proposal, contending that “it does
not comply with the requirements for posting a bond ....” On March 28, BCT responded to the
IRS, specifically demonstrating that BCT’s proposal meets the regulatory provisions for securing
a tax liability. See IRC § 7101; 26 CFR § 301.7101-1(a)(1); Internal Revenue Manual 5.6.1.3.6.


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(Copies of the recent correspondence between the IRS and BCT are submitted herewith as
Attachment A.) Also, as we previously set out, apart from BCT’s recent proposal, there are
sufficient assets available for any future collection, further refuting the government’s assertion that
the IRS needs to proceed by jeopardy assessment. See Dkt. Nos. 10 at 4; 35 at 24-25.

Counsel for Mr. Brockman conferred by email with counsel for the government, who responded
that it remains the government’s position that “the United States will not join this letter to the
Court. The United States is not opposed to oral argument but … [is] not requesting it.”

The submissions filed with the Court on this issue are:

Dkt. No. 10: Plaintiff’s Motion for Determination on Complaint

Dkt. No. 21: United States’ Opposition

Dkt. No. 34: Government’s Notice of Correction to the Court

Dkt. No. 35: Plaintiff’s Reply

Dkt. No. 37: Plaintiff’s Motion for Leave to File a Supplemental Memorandum

Dkt. No. 38: Plaintiff’s Supplemental Memorandum (1) in Support of Motion for Determination
on Complaint for Abatement of Jeopardy Assessment and Jeopardy Levy or (2) in the Alternative,
for a Stay of IRS Collection

Dkt. No. 39: United States’ Response in Opposition to Plaintiff’s (I) Motion for Leave to File
Supplemental Memorandum and (II) Memorandum and Request for a Stay of IRS Collection

Dkt. No. 41: Plaintiff’s Reply to United States’ Response in Opposition to Plaintiff’s (I) Motion
for Leave to File Supplemental Memorandum and (II) Supplemental Memorandum For
Determination of Abatement of Jeopardy Assessment and Levy or, in the Alternative, a Stay of
IRS Collection

                                                   Respectfully,

                                                    /s/ Jason S. Varnado        d
                                                    Jason S. Varnado
                                                    Counsel for Plaintiff Robert T. Brockman
Cc:    All counsel
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                       ATTACHMENT A
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